       Case 6:07-cr-10142-JTM         Document 296        Filed 02/26/08      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                       Plaintiff,


                       vs.                               Case No. 07-10142-14-JTM
 BRADLEY GRAVES,


                       Defendant.



                               MEMORANDUM AND ORDER

       Presently before the court is defendant Bradley Graves’ pro se motion to dismiss counsel

(Dkt. No. 261). The motion is denied as moot. Further, the defendant is directed not to file

additional motions with the court, except through his counsel.

       IT IS ACCORDINGLY ORDERED this 26th day of February, 2008, that defendant

Bradley Graves’ motion to dismiss counsel (Dkt. No. 261) is denied as moot.


                                                            s/ J. Thomas Marten
                                                            J. THOMAS MARTEN, JUDGE
